a

Case 1:25-mj-00214 Document1 Filed on 03/14/25 in TXSD Page 1of1

AO 94 (Rev, II/I1) Criminal Complaint FELONY United States Courts
UNITED STATES DISTRICT COURT Southern District of Texas
for the FILED
Southern District of Texas March 14, 2025

United States of America ) Nathan Ochsner, Clerk of Court

)
V. ) Case No. 1:25-MJ-214
Ezequiel Hernandez )
pen Fk Soe sat oh Jésus Perez 7 oF -
Marco Estrada-Hernandez )
Defendant(s) 5
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of March 13, 2025 in the county of Cameron in the Southern District of Texas, the defendant(s) violated:

Code Section Offense Description
Title 21, United States Code, Section 841(a)(L) & Title Knowingly and intentionally possess with intent to distribute 21.04
21, United States Code, Section 846 kilograms of cocaine, a Schedule II, Title II, drug of the Controlled

Substance Act. Furthermore, the defendant did knowingly and intenttonally
conspire and agree with persons known and unknown to unlawfully possess
with intent to distribute 21.04 kilograms of cocaine.

This criminal complaint is based on these facts:

On March 13, 2025, Homeland Security Investigations (HSI) agents conducted surveillance operations in Olmito, Texas on a
tractor trailer lot that was reported that illicit activities involving narcotics were being conducted. A Cameron County Sheriff's
Office Deputy (CCSO) conducted a vehicular traffic stop of a GMC Sierra exiting the truck lot and identified the driver as Jesus
PEREZ. CCSO deployed a narcotics K9, which alerted to the presence of a trained odor. CCSO conducted a detailed search of
the vehicle and found twenty (20) rectangular shaped bricks, tightly wrapped in black electrical tape, concealed in a cardboard
box in the bed of the GMC Sierra. The total approximate weight of the bricks was 21 kilograms. A field test of the white powdery
substance inside the bricks, tested positive for the properties of cocaine. Agents continued surveillance on the Jot and noticed the
white F-150 pickup truck leaving the lot and conducted an investigative stop and identified Ezequiel HERNANDEZ and a
commercial truck driver named Marco Antonio ESTRADA-HERNANDEZ. In a post-Miranda interview, the subjects admitted
to their involvement in the narcotics smuggling event and distribution for monetary gain.

. BF ee ee
[} Continued on the attached sheet. ep Som.
we Complainant's Signature -

Fidel Elizondo, HSI Special Agent

Printed name and title

Submitted by reliable electronic means, sworn to and signature attested
as per Fed. Rules Cr. Proc. 4.]
March 14, 2025

Date

Brownsville, Texas

City and State Printed name and title

